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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
        v.                                         :           Crim No. 1:22-cr-00354-RCL
                                                   :
RICHARD SLAUGHTER, and                             :
CADEN PAUL GOTTFRIED,                              :
                                                   :
             Defendants.                           :

             UNITED STATES’ NOTICE OF DEFENDANTS’ RULE 16
    DISCLOSURE DEFICIENCY AND REQUEST FOR ADDITIONAL DISCLOSURES

       On August 25, 2023, the defendants in this matter filed their “Notice of Affirmative

Defenses, and of Use-of-Force Expert Steven Hill” (“the Hill Notice”). See Doc. 50. After

consideration of the Hill Notice, the United States, by and through its attorney, the United States

Attorney for the District of Columbia, hereby files this Notice of Deficiency of the Hill Notice and

respectfully requests additional disclosures from the defendants to cure those deficiencies.

       Rule 16(c) of the Federal Rules of Criminal Procedure requires that, upon request, 1 a proper

expert disclosure must include:

             •   a complete statement of all opinions that the defendant will elicit from the
                 witness in the defendant’s case-in-chief;
             •   the bases and reasons for them;
             •   the witness’s qualifications, including a list of all publications authored in
                 the previous 10 years; and
             •   a list of all other cases in which, during the previous 4 years, the witness
                 has testified as an expert at trial or by deposition.

Fed. R. Crim. P. 16(b)(C)(iii). In addition, the disclosure must be approved and signed by the


1
  On December 3, 2022, the United States requested by letter to defense counsel “reciprocal
discovery to the fullest extent provided by Rule 16 of the Federal Rules of Criminal Procedure,
including results or reports of any physical or mental examinations, or scientific tests or
experiments, and any expert witness summaries. I also request that defendant(s) disclose prior
statements of any witnesses defendant(s) intends to call to testify at any hearing or trial. See Fed.
R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975).”
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expert. See Fed. R. Crim. P. 16 (b)(C)(iv).

       Here, the defendants’ Hill Notice does not meet the standards set out by Rule 16. First,

though the Hill Notice references a curriculum vitae, the Notice did not attach it. The Hill Notice

therefore does not contain the witnesses’ qualifications and publications. Second, the disclosure is

not signed by the witness. Accordingly, the government requests additional disclosures from the

defendants to cure these deficiencies and to allow the government to properly assess the need for

motion practice regarding Mr. Hill and the need for a rebuttal expert witness.

       Furthermore, the government notes that the disclosure references “the Kenneth Joseph

Alberts” trial before Judge Friedrich. The government is unclear about to which trial the defense

refers 2 and requests clarification of all of the trials in which Mr. Hill has testified as a witness,

consistent with Rule 26.2. 3 The government also renews its request for all prior statements of the

witness, if called to testify, pursuant to the same.

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar Number 481052

                                               By:     /s/ Katherine E. Boyles
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2
 The government is aware of the Christopher Alberts case, 21-cr-26, but notes that Judge
Cooper, not Judge Friedrich, presided over that case.
3
 The government requested disclosures under Federal Rule of Criminal Procedure 26.2 in its initial
discovery letter from December 2022. See fn. 1, supra.
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